 Case 1:15-cv-00435-JCN Document 36 Filed 05/11/16 Page 1 of 6                 PageID #: 68




                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

ANTHONY M. GRIFFIN,

               Plaintiff,

       vs.                                                Civil No. 15-00435-GZS

JEREMY WINTLE,

               Defendant



             ANSWER TO COMPLAINT AND AFFIRMATIVE DEFENSES
                      AND DEMAND FOR JURY TRIAL

       Defendant Jeremy Wintle, by and through counsel, hereby responds to the

Plaintiff’s Complaint as follows:

I.     Previous Lawsuits

       A.      The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, denies same.

       B.      The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph (including all

subparts) of Plaintiff’s Complaint and, accordingly, denies same.

II.    Place of Present Confinement

       The Defendant is without sufficient information or knowledge to form a belief as

to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, denies same.
 Case 1:15-cv-00435-JCN Document 36 Filed 05/11/16 Page 2 of 6                 PageID #: 69




       A.      The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, denies same.

       B.      The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, denies same.

       C.

            1. The Defendant admits that the Plaintiff submitted a grievance to the

               Penobscot County Jail with regard to an incident that occurred on January

               25, 2015. The Defendant is without sufficient information or knowledge to

               form a belief as to the truth of the remaining allegations contained in this

               paragraph of Plaintiff’s Complaint and, accordingly, denies same.

            2. The Defendant is without sufficient information or knowledge to form a

               belief as to the truth of the allegations contained in this paragraph of

               Plaintiff’s Complaint and, accordingly, denies same.

III.   Parties

       A.      The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, denies same.

       B.      The Defendant admits that he is employed by Penobscot County as a

corrections officer working at the Penobscot County Jail.

       C.      The Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, denies same.



                                              2
 Case 1:15-cv-00435-JCN Document 36 Filed 05/11/16 Page 3 of 6                 PageID #: 70




IV.    Statement of Claim

       The Defendant admits that on January 25, 2015, the Plaintiff disobeyed orders

and assaulted the Defendant. The Defendant denies the remaining allegations

contained in this paragraph of Plaintiff’s Complaint.

V.     Relief

       The statements contained in this paragraph of the Plaintiff’s Complaint do not

constitute assertions of fact to which a response is required. Alternatively, the

Defendant is without sufficient information or knowledge to form a belief as to the truth

of the allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly,

denies same.

                              AFFIRMATIVE DEFENSES

       1.      The Defendant has at all times acted in good faith and without knowledge

that his conduct violated any clearly established constitutional or statutory rights of the

Plaintiff.

       2.      The Defendant’s conduct did not violate any clearly established

constitutional or statutory rights of the Plaintiff.

       3.      No reasonable person would have known that the Defendant’s conduct

violated any clearly established constitutional or statutory rights of the Plaintiff.

       4.      To the extent that the Plaintiff endeavors to make a state claim grounded

in tort, the claim is barred by Plaintiff's failure to comply with the notice provisions of

the Maine Tort Claims Act, 14 M.R.S.A. § 8107 and 8108.

       5.      To the extent that the Plaintiff endeavors to make a state claim grounded

in tort, the claim is barred by the personal immunity provisions provided to the

Defendant by the Maine Tort Claims Act, 14 M.R.S.A. § 8111(1)(C), (D) and (E).



                                               3
 Case 1:15-cv-00435-JCN Document 36 Filed 05/11/16 Page 4 of 6                  PageID #: 71




       6.       To the extent that the Plaintiff’s Complaint seeks to impose liability on the

Defendant in his representative capacity, the Complaint fails to state a claim upon which

relief may be granted.

       8.       The Plaintiff’s own conduct was the sole or a contributing cause of any

injuries that he claims in this matter.

       9.       The Plaintiff’s Complaint, in whole or in part, fails to state a claim upon

which relief may be granted.

       10.      The Plaintiff’s claims are barred for the reason that the Defendant is not

liable under a theory of respondeat superior for the actions of his agents or employees.

       11.      The Plaintiff’s claims are barred for the reason that the Defendant’s

conduct does not constitute deliberate indifference or conduct which is shocking to the

conscience.

       13.      The Plaintiff’s claims are barred for the reason that the allegations in the

Complaint allege simple negligence and the conduct complained of is not the type

contemplated under 42 U.S.C. § 1983.

       14.      The Plaintiff’s claims are barred, in whole or in part, by the doctrine of

immunity.

       15.      The Plaintiff’s claims are barred, in whole or in part, by the doctrine of

qualified immunity.

       16.      To the extent that the Plaintiff seeks injunctive or declaratory relief, he has

no standing.

       18.      The Plaintiff has adequate remedies under State law, and therefore no

action lies under 42 U.S.C. § 1983 in the Maine Constitution or the United States

Constitution.



                                               4
 Case 1:15-cv-00435-JCN Document 36 Filed 05/11/16 Page 5 of 6                 PageID #: 72




       19.    The Plaintiff’s Complaint, in whole or in part, fails to state justiciable

claims.

       20.    The Defendant reserves the right to demonstrate that the Plaintiff has

failed to mitigate his damages.

       21.    The Plaintiff’s Complaint is frivolous and should be dismissed pursuant to

28 U.S.C. § 1915.

       22.    The Plaintiff’s claims are barred, in whole or in part, by the exhaustion of

remedies provisions in 42 U.S.C. § 1997(e). Porter v. Nussle, 534 U.S. 516 (2002).

       23.    The Plaintiff’s claims are barred, in whole or in part, to the extent they are

not based upon physical injury.

       24.    The Plaintiff’s Complaint, in whole or in part, fails to state a cognizable

claim under the Prison Litigation Reform Act.

       25.    To the extent the Plaintiff’s alleged injuries result from conditions that

pre-existed the events alleged in the Complaint, the Defendant cannot be held liable for

the alleged damages associated with those alleged injuries.

                                    JURY DEMAND

       Pursuant to Local Rule 38 and Federal Rule of Civil Procedure 38(b), the

Defendant requests a trial by jury on all claims and issues properly tried to a jury.

       WHEREFORE, Defendant Jeremy Wintle demands judgment in his favor with

regard to all claims of the Plaintiff’s Complaint, including an award of costs and

attorneys’ fees, if appropriate, and such other relief as the Court deems just.




                                              5
 Case 1:15-cv-00435-JCN Document 36 Filed 05/11/16 Page 6 of 6              PageID #: 73




       Dated at Portland, Maine this 11th day of May, 2016.

                                   Attorneys for Defendant Jeremy Wintle
                                   MONAGHAN LEAHY, LLP
                                   95 Exchange Street, P.O. Box 7046
                                   Portland, ME 04112-7046
                                   (207) 774-3906

                            BY:    /s/ John J. Wall, III
                                   John J. Wall, III


                            CERTIFICATE OF SERVICE

       I hereby certify that on May 11, 2016, I electronically filed Answer to
Complaint and Affirmative Defenses and Demand for Jury Trial using the
CM/ECF system, which will effect service on all registered parties of record. In addition,
I hereby certify that I have served a copy of this document on the Plaintiff by first class
mail, postage prepaid, to the following address:

              Anthony M. Griffin (#98914)
              Maine State Prison
              807 Cushing Rd
              Warren, ME 04864

       Dated at Portland, Maine this 11th day of May, 2016.

                                   Attorneys for Defendant Jeremy Wintle
                                   MONAGHAN LEAHY, LLP
                                   95 Exchange Street, P.O. Box 7046
                                   Portland, ME 04112-7046
                                   (207) 774-3906

                            BY:    /s/ John J. Wall, III
                                   John J. Wall, III




                                             6
